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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY
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 YISHENG LI.
                                                                            Civil Action No.:
                                    Plaintiff,
                                                                            2:20-CV-05099-JMV-JRA
                           -against-
                                                                            STATEMENT OF
                                                                            MATERIAL FACTS
 STEWART LOR,

                                     Defendant.
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         Plaintiff Yisheng Li, and counter-claim defendant Xin Yue Guo, by and through their

 attorneys DGW Kramer LLP, hereby submits the following statement of material facts not in

 dispute for the Court’s consideration:


         1.       On April 23, 2016, Plaintiff (“Mr. Li” or “Plaintiff”) signed a Securities Purchase

 Agreement (the “Agreement”), pursuant to which he would make an investment of $500,000 in a

 company called Fanz Co., Ltd. (“Fanz”). (Exhibit A).

         2.       On May 18, 2016, the Agreement was amended (the “Amendment”) to expand the

 existing “Make Good” provision of the Agreement. (Exhibit B).

         3.       Per the Amendment, if Fanz fails to secure Series A funding and discontinues its

 operations, Mr. Guo and Defendant (“Mr. Lor” or “Defendant”) agreed to return in full the

 investment made by Plaintiff. (Exhibit B).

         4.       Per the Amendment, Mr. Guo and Mr. Lor would each be responsible for half of the
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 amounts due, i.e. $250,000 each. (Exhibit B).

        5.      The Amendment was executed by Mr. Li, Mr. Guo, and Mr. Lor. (Exhibit B).

        6.      Fanz was not able to secure Series A funding and discontinued operations. (Exhibit

 C, 30-31).

        7.      Mr. Lor never made the $250,000 payment to Mr. Li. (Exhibit C, 35).

        8.      On November 27, 2019, Mr. Li attempted to assign his claim against Mr. Lor to Mr.

 Guo. (Exhibit D).

        9.      Mr. Lor challenged the validity of the assignment before this Court. His first

 counter-claims, seeks declaratory judgment that the assignment was invalid, that the consideration

 paid to Mr. Li, including shares in Sea & Sand “are worthless and cannot be the basis of a valid

 assignment” and furthermore, Mr. Lor was “never given proper notice of the assignment under

 Chinese law.” (Exhibit E, 5).

        10.     Mr. Guo admits that the shares in Sea & Sand are in fact worthless, that Sea & Sand

 is defunct, and that no notice was given to Mr. Lor about the assignment. (Exhibit F).

        11.     Mr. Guo and Mr. Li therefore in response to the claims raised by Defendant, orally

 cancelled the assignment. (Exhibit F).

        12.     The cancellation was later reduced into writing. (Exhibit G).

        13.     On October 14, 2021, counsel for Mr. Li and Mr. Guo reached out to counsel for

 Defendant, accepting Defendant’s position “with respect to the legitimacy of the assignment” and

 offered to withdraw the assignment related claims. (Exhibit H).

        14.     Defendant agreed and on October 22, 2021, executed a stipulation of dismissal with

 prejudice of Mr. Guo’s claims. (Exhibit I).

        15.     Separate and apart from the claims related to Mr. Li are claims made by Mr. Lor
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 against Mr. Guo arising out of an alleged loan from non-party Ms. Hu. (Exhibit E).

        16.     Mr. Lor alleges that there was a loan that was made to Fanz by Ms. Hu. (Exhibit C,

 42)

        17.     Ms. Hu was a friend of Mr. Lor. (Exhibit C, 40-41).

        18.     Mr. Lor pledged up his own personal house as collateral for the loan from Ms. Hu.

 (Exhibit C, 42).

        19.     The deal was oral, and was negotiated solely by and between Ms. Hu and Mr. Lor

 directly. No one else was involved in these conversations other than Ms. Hu and Mr. Lor. (Exhibit

 C, 42-43).

        20.     Mr. Guo has never signed any guarantee with respect to the loan to Fanz by Ms.

 Hu. (Exhibit F).



        Based on the foregoing undisputed material facts, and in accordance with the

 accompanying memorandum of law in support, Plaintiff Mr. Li and counter-claim defendant Mr.

 Guo respectfully requests that the Court grant summary judgment in favor of Plaintiff for the

 amount as demanded in the Complaint and for dismissal of the counter-claim as to and against Mr.

 Guo.

 Dated: New York, New York
        August 19, 2022                                   Respectfully submitted,
                                                     DGW Kramer LLP


                                                     By:    _/s/ Jacob Chen
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